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        3

        4                              UNITED STATES DISTRICT COURT

        5                       FOR THE EASTERN DISTRICT OF CALIFORNIA

        6
              UNITED STATES,                                    Case No. CR F 05-0156 OWW
        7
                                          Plaintiff,            STIPULATION TO RESET
        8                      v.                               SENTENCING FOR
                                                                DECEMBER 13, 2005 AT
                                                                10:00 A.M.; ORDER
        9     JESSICA MARIE HAWES,

        10                                Defendant.

        11
                    THE PARTIES HEREBY STIPULATE to reset the sentencing hearing for
        12
              Tuesday, December 13, 2005 at 10:00 a.m., before the Honorable Judge Oliver W.
        13    Wanger. This hearing had previously been calendared for January 9, 2006.
        14           SO STIPULATED.

        15
              Dated:                   , 2005            McGREGOR W. SCOTT
        16                                               United States Attorney
        17

        18
                                                         By:    /s/ Sheila Oberto
                                                                SHEILA OBERTO
        19                                                      Assistant U.S. Attorney

        20
              Dated:                   , 2005                  /s/ Carolyn D. Phillips
                                                               CAROLYN D. PHILLIPS
        21
                                                         Attorney for Defendant Jessica Hawes
        22
              Stipulation to Reset Sentencing for December 13, 2005 at 10:00 A.M.,              1
        23    U.S. v. Jessica Marie Hawes, Case No. CR F-05-0156 OWW


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        1
                                                         ORDER
        2
                     IT IS ORDERED that the sentencing hearing in the matter of United States
        3
              v. Jessica M. Hawes, Case No. 05-0156 be reset from January 9, 2006 at 1:30 p.m.,
        4
              to December 13, 2005 at 10:00 a.m.
        5

        6
                  Dated:    December 9, 2005                   /s/ OLIVER W. WANGER
        7
                                                         OLIVER W. WANGER, Judge
        8                                                United States District Court
                                                         Eastern District of California
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              Stipulation to Reset Sentencing for December 13, 2005 at 10:00 A.M.,              2
        23    U.S. v. Jessica Marie Hawes, Case No. CR F-05-0156 OWW


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